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October 6, 2022

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SENT VIA ECF

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Hon. John G. Koetl JA@UAOE Ee, 5,
United States District Judge PSO,
Southern District of New York. So OAbERED
500 Pearl Street _ /
New York, New York 10007 x, Eel

  

Ina Po a
Re: United States v. Aviram Azari, 1:19 Cr. 00610 (JGIX)

Dear Judge Koetl:

On behalf of my client Aviram Azari, and with the government’s consent, we
would most respectfully request that sentencing, which is scheduled for October
19; 2022 be rescheduled to a date in mid-January, 2023 convenient to the Court.

 

I make this request because I require additional time to prepare for sentencing.
Primarily because his health conditions have grown worse and untreated,
notwithstanding all of the efforts the government has made.

At this point it has been very difficult to even speak with my client. The last time I
appeared at the MDC to see him, which I prearranged, he’d been taken to the
hospital. When I spoke with Mr. Azari 2 days later, he advised that they told him
that he had several serious medical conditions, but that they could not assist, as he
needed to see doctors with different medical specialties.
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Hon. John G. Koetl, United States District Judge
October 6, 2022
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With the Court’s permission, I intend to submit another letter under Seal, detailing
the particulars of the recent history of Mr. Azari’s medical issues. However, I first
wanted to make this adjournment request, as the current sentencing date and
related deadlines is quickly approaching.

The Court’s consideration is very greatly appreciated.

Respectfully,
/s/ Barry Zone
Barry Zone

Attorney for defendant,
Aviram Azari

ec:  AUSA Olga Zverovich
AUSA Juliana Murry
